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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                                                                  Case No.:22-60028-CR

UNITED STATES OF AMERICA,

      Plaintiff
vs.

LUKE JOSELIN,

     Defendant.
_________________________________/

        DEFENDANT’S OBJECTIONS TO THE DRAFT PRESENTENCE
                     INVESTIGATION REPORT

      COMES NOW the Defendant, LUKE JOSELIN (“Mr. Joselin”), through
undersigned counsel, and hereby files the following objections to the draft Presentence
Investigation Report (“PSI”) and states:

      PART A. THE OFFENSE

      Paragraph 19: The Defense’s position is that Joselin was not involved in a
conspiracy with Harrison, Jean Louis, or others.

      Paragraph 20: The Defense’s position that he used his email account related to the
preparation of his loan applications. Further, the coconspirator’s shared the same email
address to provide information necessary for Joseline to prepare an application on their
behalf.

     Paragraph 22: It is the Defendant’s position that there was no recruitment involved
when Jean Louis requested that the Defendant prepare a PPP loan on his behalf.

       Paragraph 27: It is the Defendant’s position that he did not mask the illegitimacy
by transferring funds to a new account and issuing “pay period” checks to four individuals.

       Paragraph 28: It is the Defendant’s position that both Jean Louis and Harrison took
steps to obtain loan funds.
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      Paragraph 29: It is the Defendant’s position that Jean Louis stole the victim TD’s
personal identifying information. The Defendant was acquitted of the conduct in count
twelve of the indictment.

      Paragraph 30: It is the Defendant’s position that he relied on the information
provided by Harrison and Jean Louis in the preparation of the SBA applications.

       Paragraph 31: It is the Defendant’s position is that he did not lie during his post-
arrest statements conducted in October 2021. Further, it is the Defendant’s position that
the total amount that he is responsible for is $477,533 and not $3.6 million.

      The Defense respectfully requests that the Court make the following findings with
respect to his amount that he is responsible for in the instant case:

      COUNT I-NO AMOUNT OBTAINED BY THE DEFENDANT
      COUNT II- DEFENDANT RESPONSIBLE FOR $27,005
      COUNT III- DEFENDANT RESPONSIBLE FOR $20,833
      COUNT IV- DEFENDANT RESPONSIBLE FOR $20,833
      COUNT V-DEFENDANT RESPONSIBLE FOR $19,412
      COUNT VI- DEFENDANT RESPONSIBLE FOR $19,998
      COUNT VII- DEFENDANT RESPONSIBLE FOR $186,972
      COUNT VIII- DEFENDANT RESPONSIBLE FOR $182,500
      COUNTS VIIII-X- PPP LOAN APPLICATIONS WERE SUBMITTED BUT
      NOT FUNDED
      COUNT XI-NO AMOUNT OBTAINED BY THE DEFENDANT
      COUNT XII-DEFENDANT ACQUITTED OF AGGRAVATED IDENTITY
      PART A. ROLE ASSESSMENT

      Paragraph 32: It is the Defendant’s position that he did not recruit, direct, or cause
the submission of false and fraudulent information to secure PPP and EIDL loans in the
amount of $3.6 million. But that rather, the Defendant accepts responsibility for the loans
that he prepared on his behalf and for the applications that he submitted on behalf of
Harrison and Judelex without verifying the information.
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       Paragraph 33: It is the Defendant’s position that Jean Louis was not recruited into
a fraudulent scheme by the Defendant.

       Paragraph 39: It is the Defendant’s position that he is accepting responsibility for
his role in the offense. Therefore, the Defense would be respectfully requesting that the
adjustment for the acceptance of responsibility apply.

       Paragraph 43: It is the Defendant’s position that he is not responsible for the total
amount of $3.6 million. (See the calculation in Defendant’s objection as to paragraph 31)
Because the loss was more than $250,000 but less than $550,000, the Defense is requesting
that his offense level is increased by twelve (12) levels, ⸹2B1.1(b)(1)(G).

     Paragraph 46: It is the Defendant’s position that he is not the organizer, leader,
manager, or supervisor of any criminal activity involving Jean Louis and Harrison.

      Paragraph 50: It is the Defendant’s position that he qualifies for the adjustment for
the acceptance of responsibility.

      PART D. SENTENCING OPTIONS

      Paragraph 84: It is the Defendant’s position that he has a total offense level of seven
(7), with a specific offense characteristic level of 12 points, and sophisticated means
enhancement of two additional levels. The Defense is objecting to the Adjustment Role
enhancement of two (2) levels and respectfully requesting that this court sustain his
objection.

       Thereby, the Defendant is requesting that his total offense level be seventeen (17)
and criminal history of I, therefore the guideline imprisonment range is 24-30 months in
the Bureau of Prison’s custody. Per 18 U.S.C ⸹ 1028A(a)(1) and (b)(2) as to Count Twelve
of the indictment, the Court is required to impose the respective count consecutive to the
underlying count.

      Paragraph 89: It is the Defendant’s position that the applicable guideline range is
in Zone C of the sentencing table, thereby making the Defendant ineligible for probation.




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      PART F. FACTORS THAT MAY WARRANT A SENTENCE OUTSIDE OF
      THE ADVISORY GUIDELINE SYSTEM

      Paragraph 95: It is the Defense's position that Defendant is eligible for a variance
pursuant to 18 U.S.C. Section 3553(e) factors based upon his: lack of criminal history;
family circumstances; and the nature of the offense.

      WHEREFORE, the Defense respectfully requests this Court to sustain the above-
described PSI objections.

                                                                  Respectfully Submitted,

                                                        THE DAVIS LEGAL CENTER
                                                                /s/ Dameka L. Davis, Esq.
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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on October 11, 2022, I electronically filed the foregoing
with the Clerk of the Court using PACER. I also certify that the foregoing document is
being served this day on all counsel of record in this matter by PACER.

                                                                   /s/ Dameka L. Davis, Esq.
                                                                       Dameka L. Davis, Esq.




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